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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
SECURITIES AND EXCHANGE COMMISSION, :
                                                               :
                                    Plaintiff,                 :
                                                               :
         -v-                                                   :      No. 16-cv-6848 (BMC)
                                                               :
PLATINUM MANAGEMENT (NY) LLC;                                  :
PLATINUM CREDIT MANAGEMENT, L.P.;                              :
MARK NORDLICHT;                                                :
DAVID LEVY;                                                    :
DANIEL SMALL;                                                  :
DEAN GRAYSON, as representative of the                         :
estate of Uri Landesman;                                       :
JOSEPH MANN;                                                   :
JOSEPH SANFILIPPO; and                                         :
JEFFREY SHULSE,                                                :
                                    Defendants.                :
---------------------------------------------------------------X

        ORDER APPROVING SIXTH JOINT INTERIM APPLICATION
       OF THE RECEIVER AND OTTERBOURG P.C. FOR ALLOWANCE OF
    COMPENSATION AND REIMBURSEMENT OF EXPENSES INCURRED DURING
         THE PERIOD OCTOBER 1, 2018 THROUGH DECEMBER 31, 2018

        THIS MATTER coming before the Court on the Sixth Joint Interim Application of

Melanie L. Cyganowski, the duly appointed receiver herein (the “Receiver”) and Otterbourg P.C.

(“Otterbourg”), counsel for the Receiver, for Allowance of Compensation and Reimbursement of

Expenses Incurred During the Period October 1, 2018 Through December 31, 2018 (the “Sixth

Interim Application”)1 [Dkt. No. 466]; and the Court having considered the Sixth Interim

Application and exhibits and other documents filed in support of the Sixth Interim Application;

and the Court having found that the Sixth Interim Application complies with applicable

standards for awarding fees and expenses; and after due deliberation and for good and sufficient

cause shown; it is hereby

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  Capitalized terms utilized but not otherwise defined herein shall have the meaning ascribed to them in the Sixth
Interim Application.
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        ORDERED that the Sixth Interim Application for the period covering October 1, 2018

through December 31, 2018 (the “Sixth Application Period”) is granted; and it is further

        ORDERED that the Receiver’s compensation for the Sixth Application Period is allowed

on an interim basis in the amount of $122,628.40 (the “Allowed Receiver Fees”); and it is further

        ORDERED that the fees requested by Otterbourg for the Sixth Application Period are

allowed on an interim basis in the amount of $1,043,307.90 (the “Allowed Otterbourg Fees” and,

together with the Allowed Receiver Fees, the “Allowed Fees”); and it is further

        ORDERED that the Receiver’s request for reimbursement of her out-of-pocket expenses

for the Sixth Application Period is allowed on an interim basis in the amount of $801.58; and it

is further

        ORDERED that Otterbourg’s request for reimbursement of its out-of-pocket expenses

for the Sixth Application Period is allowed on an interim basis in the amount of $11,365.44; and

it is further

        ORDERED that the Receiver is authorized to immediately pay from the Receivership

assets (i) the Allowed Fees, less twenty (20%) percent of the Allowed Fees, plus (ii) 100% of the

allowed out-of-pocket expenses of Applicants.


  SO ORDERED.
                                       Digitally signed by Brian M.
                                       Cogan
                                       ______________________________________
                                                      U.S.D.J.

  Dated: Brooklyn, New York
         July 11,
              xx 2019
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